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                      UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF PENNSYLVANIA

_______________________________
PETER ZIEBERT                   )
                                )                    Case Number: 11-1655
            Plaintiff           )
                                )
            vs.                 )
                                )
                                )
BUREAU OF COLLECTION            )
RECOVERY, INC.                  )
                                )
                                )
            Defendant           )
_______________________________)


                       NOTICE OF VOLUNTARY DISMISSAL


       PLEASE TAKE NOTICE that Plaintiff, Peter Ziebert, pursuant to Rule

41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the action

captioned above with prejudice.




                                      BY:_/s/ Brent F. Vullings
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